         Case 1:18-cv-12485-NMG Document 59 Filed 06/29/20 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                    :
KAPPA ALPHA THETA FRATERNITY,       :
INC.; KAPPA KAPPA GAMMA             :
FRATERNITY; SIGMA CHI; SIGMA        :
ALPHA EPSILON; SIGMA ALPHA          :
EPSILON--MASSACHUSETTS GAMMA;       :
JOHN DOE 1; JOHN DOE 2; JOHN DOE 3, :
                                    :
                                                            Civil Action No. 18-cv-12485-NMG
            Plaintiffs,             :
                                    :
       v.                           :
                                    :
HARVARD UNIVERSITY; PRESIDENT       :
AND FELLOWS OF HARVARD COLLEGE :
(HARVARD CORPORATION),              :
                                    :
            Defendants.             :
                                    :

       DEFENDANT PRESIDENT AND FELLOWS OF HARVARD COLLEGE’S
                     MOTION TO DISMISS AS MOOT

       Defendant President and Fellows of Harvard College (“Harvard”), through its

undersigned counsel, respectfully submits that this case is now moot, and moves pursuant to

Federal Rule of Civil Procedure 12(b)(1) to dismiss this action for lack of subject-matter

jurisdiction. In support of this Motion, Harvard relies on the accompanying Memorandum. As

discussed in the Memorandum, Plaintiffs brought this case to challenge Harvard’s Policy

withholding certain benefits from students who choose to join unrecognized single-gender social

organizations, and seek only declaratory and injunctive relief from that Policy. Harvard has

rescinded the Policy, effective today. There is no longer a live controversy between the parties,

so this case must be dismissed.

       For these reasons, and as stated more fully in the accompanying Memorandum, Harvard

respectfully requests that the Court dismiss this action as moot.
        Case 1:18-cv-12485-NMG Document 59 Filed 06/29/20 Page 2 of 3




Dated: June 29, 2020                 Respectfully submitted,

                                     PRESIDENT AND FELLOWS OF HARVARD
                                     COLLEGE

                                     By its attorneys,


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                                      2
         Case 1:18-cv-12485-NMG Document 59 Filed 06/29/20 Page 3 of 3



                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        I hereby certify that, on June 29, 2020, counsel for Harvard and counsel for Plaintiffs
conferred in a good-faith effort to narrow or resolve the issues presented herein, but were unable
to do so.

                                                               /s/ Roberto M. Braceras


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document, filed through the CM/ECF
system, will be sent electronically to all the registered participants as identified on the Notice of
Electronic Filing, and paper copies shall be served by first class mail postage prepaid on all
counsel of record who are not served through the CM/ECF system on June 29, 2020.

                                                               /s/ Roberto M. Braceras




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